Captured at: 04/03/2023, 11:04 AM                                                    Case 6:20-cv-00585-ADA Document 272-10 Filed 10/04/23 Page 1 of 1


URL: https://store.google.com/magazine/compare_pixel?hl=en-' S&toggler0=Pixel+3a+XL&toggler1=Pixel+3&t
oggler2=Pixel+2
                                                                 Fresh deals are here. Celebrate spring with savings on products you love. Browse offers


G          Phones       earbuds      Watches         SmartHome           Laptops       Accessories           Subscriptions            Offers                                                                                                           @




                                                                       Which Pixel phone is right for
                                                                                                                      you?

                                                                                                                                                                                        Ee




                          Pixel 3a XL                                            v                 Pixel 3                                               v            Pixel 2                                            v




                                                                                                                   Available colors

                                                     oe                                                                               e                                                         oe




                                                                                                                      Dimensions!




                                                                                                   5.7°h                                                               5.7°h                  5.0"d




                                                   3.0°w




                                                                                                                       Network?

                      4G                                                                   4G                                                                     4G




                                                                                                                            Display
                      Fullscreen 6.0 inch / 152.4mm display                                Fullscreen 5.5 inch / 139.7mm display                                  Cinematic 5.0 inch display

                      FHD+ OLED at 402 ppi                                                 FHD+ flexible OLED at 443 ppi                                          FHD+ OLED at 441ppi

                      18:9                                                                 18:9                                                                   16:9




                                                                                           HDR Support (UHDA Certification)




                                                                                                                            Battery

                      Typical 3700 mAh$                                                    Typical 2915 mAh>                                                      Typical 2700 mAh®
                      All-day battery’                                                     All-day battery”                                                       All-day battery”



                      Fast charging®                                                       Fast charging*®                                                        Fast charging

                                                                                           Fast wireless charging®




                                                                                                                            Design
                      Polycarbonate unibody                                                Soft touch glass back                                                  Metal unibody with hybrid coating



                      Active Edge™                                                         Active Edge™                                                           Active Edge™

                                                                                           Water resistant’                                                       Water resistant’




                                                                                                               Memory and storage

                      4GB RAM                                                              4GB RAM                                                                4GB RAM

                      64GB storage”, plus unlimited storage for                            Up to 128GB storage”, plus unlimited                                   Up to 128GB storage", plus unlimited
                      photos and videos at high quality with                               storage at original quality with Google                                storage at original quality with Google
                      Google Photos"                                                       Photos"                                                                Photos"




                                                                                                                        Security
                      Titan” M security module




                      Pixel Imprint™                                                       Pixel Imprint”                                                         Pixel Imprint™




                                                                                                                      Processors


                      Qualcomm® Snapdragon™ 670 with Octa-                                 Qualcomm® Snapdragon™ 845 with Octa-                                   Qualcomm® Snapdragon™ 835 with Octa-
                      Core                                                                 Core                                                                   Core

                                                                                           Pixel Visual Core™                                                     Pixel Visual Core™

                                                                                                                                                                  Security Module


                                                                                                                      Rear camera

                      12.2MP     dual-pixel                                                12.2 MP dual-pixel                                                     12.2MP dual-pixel
                      rear camera                                                          rear camera                                                            rear camera


                              aperture                                                     £/1.8 aperture                                                                aperture
                      Autofocus + dual pixel phase detection                               Autofocus + dual pixel phase detection                                 Autofocus with laser + dual pixel phase
                                                                                                                                                                  detection

                      Optical + electronic image stabilization                             Optical + electronic image stabilization                               Optical + electronic image stabilization




                                                                                                                     Front camera


                      8MP front camera                                                     8MP wide-angle and normal cameras                                      8MP front camera

                              aperture, fixed focus                                        Wide-angl           :

                                                                                                                            aperture, fixed focus                 £/2.4 aperture, fixed focus




                                                                                                                   Camera features


                                                                                           Group Selfie Cam                                                       -




                      Night Sight                                                          Night Sight                                                            Night Sight
                      Top Shot                                                             Top Shot                                                               -




                      Portrait Mode                                                        Portrait Mode                                                          Portrait Mode


                      Super Res Zoom                                                       Super Res Zoom                                                         -




                      Motion Auto Focus                                                    Motion Auto Focus




                                                                                                                            Audio

                      Stereo speakers                                                      Dual, front-firing stereo speakers                                     Dual, front-firing stereo speakers

                      USB-C® audio                                                         USB-C® audio                                                           USB-C® audio

                      3.5 mm    audio jack

                                                                                                                       Pixel Pass

                      Not eligible                                                         Not eligible                                                           Not eligible




                                                                                                                   Operating system
                      Android 9 Pie                                                        Android 9 Pie                                                          Launched with Android 8 Oreo




     Dimensions and weight vary by     configuration and manufacturing process.
 2
     Contact carrier for details. 5G service is carrier dependent. Learn more about 5G network             compatibility.
 3
     Requires a 5G data plan (sold separately). 5G service not available on all carrier networks or in all areas. Contact carrier for details. 5G service, speed and performance depend on many factors including, but not limited
     to, carrier network capabilities, device configuration and capabilities, network traffic, location,

     apply.    Learn more about 5G network     compatibility.
                                                                                                               signal strength
                                                                                                                       and signal obstruction, Actual results may vary. Some features not available in all areas. Data rates may



 4
     Not available for all apps or content.   Display automatically adjusts to optimize for best viewing and battery performance.
 5
     Estimate of    typical capacity based upon testing and expected cell behavior.
 ©   Pixel 7 Pro and Pixel 7: Fast wired    charging rates (up to 21W on Pixel 7 and up to 23W on Pixel 7 Pro) are based upon use of the Google 30W USB-C® Charger plugged into a wall outlet. Actual results may be slower.
     ‘Adapters sold separately. Charging speed based upon testing with device batteries drained to 1% and charged with Google 30W USB-C® Charger. Charging testing conducted by Google in mid-2022 on preproduction
     hardware and software using default settings with the device powered on. Charging speed depends upon many factors including usage during charging, battery age, and ambient temperature. Actual charging speed
     may be slower. Wireless charging rates up to 21W (Pixel 7) and up to 23W (Pixel 7 Pro) charging with Google Pixel Stand (2nd gen) (sold separately). Up to 12W with Gi-certified EPP chargers (sold separately). Actual
     results may be slower.


     Pixel 6a: Wired charging rates up to 18W based on use of Google 30W USB-C® or Google 18W USB-C® Charger plugged into a wall outlet. Actual results may be slower. Adapters sold separately. Compatible with USB PD
     3.0 PPS adapters.


     Pixel 5/Pixel 4a (5g): Up to 12 W with Pixel 5 charging with Qi certified EPP charger (sold separately). Actual results may be slower. Gi-certified.


     Pixel 4a: Up to 18W wired charging rates are based upon use of the included charger plugged into a wall outlet. Actual results may vary,


               /
     Pixel 4 Pixel 4 XL: Up to 10 W with Pixel 4 or Pixel 4 XL charging with Pixel Stand (sold separately). Actual results may vary.


     Pixel 3a: Up to 18W wired charging rates are based upon use of the included charger plugged into a wall outlet. Actual results may be slower.


     Pixel 3 / Pixel 3 XL: Up to 10 W with Pixel 3 and Pixel 3 XL charging with Pixel Stand (sold separately). Actual results may vary.

     Pixel 2 / Pixel 2 XL: Up to 18W wired charging rates are based upon use of the included charger plugged into a wall outlet. Actual results may be slower.


           /
     Pixel Pixel XL: Up to 18W wired     charging rates are based upon use of the included charger plugged into a wall outlet. Actual results may be slower.
     Pixel 7 Pro and Pixel 7: For "24-hour": Estimated battery life based on testing using a median Pixel user battery usage profile across a mix of talk, data, standby, and use of other features. Average battery life during
     testing was approximately 31 hours. Battery testing conducted on a major carrier network. For “Up to 72 hours”: Estimated battery life based on testing using a median Pixel user battery usage profile across a mix of talk,
     data, standby, and use of limited other features that are default in Extreme Battery Saver mode (which disables various features including 5G connectivity). Battery testing conducted on a major carrier network. For both
     claims: Battery testing conducted in California in early 2022 on pre production hardware and software using default settings, except that, for the “up to 72 hour” claim only, Extreme Battery Saver mode was enabled.
     Battery life depends upon many factors and usage of certain features will decrease battery life. Actual battery life may be lower.

     Pixel 6a: For “24-hour”: Estimated battery life based on testing using a median Pixel user    battery usage profile across a mix of talk, data, standby, and use of other features. Average battery life during testing was
     approximately 29 hours. Battery testing conducted using Sub-6 GHz non-standalone 5G (ENDC) connectivity. For “Up to 72 hours”: Estimated battery life based on testing using a median Pixel user battery usage profile
     across a mix of talk, data, standby, and use of limited other features that are default in Extreme Battery Saver mode (which disables various features including 5G connectivity). Battery testing conducted on a major

     carrier network. For both claims: Battery testing conducted in California in early 2022 on pre-production hardware and software using default settings, except that, for the “up to 72 hour”      claim only, Extreme Battery
     Saver mode was enabled, Battery life depends upon many factors and usage of certain features will decrease battery life. Actual battery life may be lower.


     Pixel 6 Pro and Pixel 6: For “beyond 24 hours":          battery life based on testing using a mix of talk, data, standby, and use of other features. Average battery life during testing was 34 hours. Battery life depends
                                                           Estimated

     upon many factors and usage of certain features will decrease battery life. Battery testing conducted by a third party in California in mid 2021 on pre-production hardware and software, using default settings. Battery
     testing conducted using two major carrier networks using Sub-6 GHz non-standalone 5G (ENDC) connectivity. Actual battery life may be lower.

     For “all-day”: Maximum battery life based on testing using a mix of talk, data, standby, and use of other features. Testing conducted on two major carrier networks using Sub-6 GHz non-standalone 5G (ENDC)
     connectivity. For “Up to 48 hours /2 days”: Maximum battery life based on testing using a mix of talk, data, standby, and use of limited other features that are default in Extreme Battery Saver mode (which disables
     various features including 5G connectivity). Testing conducted on two major carrier networks. For both claims: Pixel Sa with 5G battery testing conducted by a third party in California in early 2021 on pre-production

     hardware and software using default settings, except that, for the “up to 48 hour/ 2 days claim” only, Extreme Battery Saver mode was enabled. Battery life depends upon many factors and usage of certain features will
     decrease battery life. Actual battery life may be lower.


     Pixel 5 and Pixel 4a (5g): Maximum battery life based on testing using a mix of talk, data, standby, and use of other features. Battery life depends upon many factors and usage of certain features will decrease battery
     life, Pixel 4a (5G) and Pixel 5 battery testing conducted by a third party in California in mid 2020 on pre-production hardware and software, using default settings. Testing conducted on two major carrier networks using
     Sub-6 GHz non-standalone 5G (ENDC) connectivity, Actual battery life may be lower.


     Pixel 4a: Approximate battery life based on a mix of talk, data, standby, and use of other features, with always on display off. An active display and other usage factors will decrease battery life. Pixel 4a battery testing
     conducted in Mountain View, California in early 2020 on pre-production hardware and software. Actual results may vary.


     Pixel 4 / Pixel 4 XL: Approximate battery life based on a mix of talk, data, standby, mobile hot spot and use of other features, with Motion Sense off and always on display off. Use of Motion Sense, an active display or
     data usage will decrease battery life. Pixel 4 and 4 XL testing conducted in Mountain View, California in August 2019 on pre-production hardware and software. Actual results may vary.


     Pixel 3a and Pixel 3a XL: Approximate battery life based on a mix of talk, data, standby, mobile hot spot and use of other features, with always on display off. An active display or data usage will decrease battery lif.
     Actual results may vary.


     Pixel 3 and Pixel 3 XL: Approximate battery life based on a mix of talk, data, standby and use of other features, with always on display off and mobile hotspot off. An active display or data usage will decrease battery life,
     Wired charging: rates are based on use of the included charger. Wireless charging: Up to 10 W with Pixel 3 and Pixel 3 XL charging with Pixel Stand (sold separately). Actual results may vary.


     Pixel 2 and Pixel 2 XL: Approximate battery life based on a mix of talk, data, and standby use with always on display off. Requires use of included charger. An active display or data usage will decrease battery life. Actual
     results may vary, see website for details.


     Pixel and Pixel XL: Battery use statistics are approximate and represent mixed use of talk, standby, web browsing, and other features, according to an average user profile as defined by Google. Uses that involve an
     active    display or data usage will use battery more quickly, actual results may vary. Charging rates are based on use of the included USB Type-C 18W charger.
     Designed to charge Gi-certified devices. Use of reverse wireless charging significantly reduces Pixel battery life. Cases may interfere with charging and will reduce charging speed. Charge speeds may vary. Learn more
     about wireless charging.

 ° Pixel 7 Pro and Pixel 7:
                             Designed to comply with water protection rating IPX8 under IEC standard 60529 when each device leaves the factory but device is not waterproof. The accessories are not water resistant. Water
     resistance is not a permanent condition, and diminishes or is lost over time due to normal wear and tear, device repair, disassembly or damage. Dropping your device may result in loss of water resistance. Liquid damage

     voids the warranty. See g.co/pixel/water.


     Pixel 6a: Designed to comply with water protection rating IPX7 under IEC standard 60529 when each device leaves the factory but device is not waterproof. The accessories are not water resistant. Water resistance is
     not a permanent condition, and diminishes or is lost over time due to normal wear and tear, device repair,

     warranty. See g.co/pixeliwater.
                                                                                                                             disassembly or damage. Dropping   your device   may result in loss of water resistance. Liquid damage voids the



     Pixel 5a with 5G has a water protection rating of IPX7 under IEC standard 60529. Charger and accessories are not water resistant. Water resistance is not a permanent condition and may be compromised due to normal
     wear and tear, repair,   disassembly or damage.

     Pixel 5: Pixel 5 has a water protection rating of IPX8 under IEC standard 60529.          Charger and accessories are not water resistant. Water resistance is not a permanent condition and may be compromised due to normal
     wear and tear, repair,   disassembly or damage.

     Pixel 4 and Pixel 4 XL have a water protection rating of IPX8 under IEC standard 60529.           Charger and accessories are not water resistant. Water resistance is not a permanent condition and may be compromised due to
     normal wear and tear, repair, disassembly or damage.


     Pixel 3 and Pixel 3 XL have a water protection rating of IPX8 under IEC standard 60529. Charger and accessories are not water resistant.


     Pixel 2 and Pixel 2 XL has a water protection rating of IP67 under IEC standard 60529.           Charger and accessories are not water resistant.

      Storage specifications refer to capacity before formatting. Actual formatted capacity will be less.
 ™   Pixel 5, Pixel 4a (5G), Pixel 4a, Pixel 4 and Pixel 4 XL:   Google Photos offers unlimited online storage for all photos and videos uploaded in high-quality. Photos and videos uploaded in high-quality may be compressed or
     resized, Requires Google
                                  Account   and internet connection. Data rates may apply. Learn more about
                                                                                                                    uploadingphotos        and videos.


     Pixel 3a and Pixel 3a XL: Google Photos offers free unlimited online storage for all photos and videos uploaded in high-quality. Photos and videos uploaded in high-quality may be compressed or resized.                  Requires Google
     Account. Data rates may apply. Learn mort          yout
                                                                 loadingphotos   and videos.


     Pixel 3 and Pixel 3 XL: Free unlimited online original-quality storage for all photos and videos uploaded to Google Photos from Pixel 3 through 1/31/2022. Photos and videos uploaded before 1/31/2022 will remain free at
     original-quality. Requires Google Account. Data rates may apply. Learn more about              uploadingphotos    and videos.


     Pixel 2 and Pixel 2 XL: Free, unlimited   original-quality storage for photos and videos taken with Pixel through the end of 2020, and free, unlimited high-quality storage for photos taken with Pixel afterwards,

     Pixel and Pixel XL: Unlimited original quality storage of photos/videos taken with your Pixel, high quality for all other photosivideos. Requires Google Account. Data rates may apply.

 ® Maximum resolution and field of view with RAW
                                                           image files setting turned on. Setting is turned off by default. See g.co/pixeV/photoediting for more information,
 8 Measured
                   diagonally; dimension may vary by configuration and manufacturing process.
     Magic Eraser may not work on all image elements.
     HDR brightness measured at 100% on-pixel ratio. Peak Brightness measured at 5% on-pixel ratio.

     Coming soon. Restrictions apply. Some data is not transmitted through VPN. Not available in all countries. All other Google One membership benefits sold separately. Pixel VPN offering does not impact price or benefits
     of Google One Premium plan. Use of VPN may increase data costs depending on your plan. See g.co/pixelvpn for details.

 USB-Type           and USB-C” are trademarks of USB Implementers Forum,

 The Bluetooth® word mark and logos are          registered trademarks owned by Bluetooth SIG, Inc.
 Qualcomm is a trademark of Qualcomm incorporated, registered in the United States and other countries, used with permission.

 All other trademarks are property of their respective owners.




                                                                                                                                                                   Shipping options                   Help Center

                                                                                                                                                                   Tracking a package                 Contact Us


                                                                                                                                                                   Country availability               Financing

                                                                                                                                                                  Repairs                             Device recycling


                                                                                                                                                                 Installation                         Sustainability

                                                                                                                                                                   Ideas & Info                       Gift returns


                                                                                                                                                                                                      Refurbished


                                                                                                                                                                                                      Trade-in


                                                                                                                                                                                                      Pixel for Business
                                                                                                                                                                                                                                      PLAINTIFF'S
                                                                                                                                                                                                                                        EXHIBIT
                                                                                                                                                                                                      Locations
                                                                                                                                                                                                                                    PTX-449
                                                                                                                                                                                                                                    6:20-cv-572/580/584/585


                                                                                                                                                                                                                                   PTX-449-0001




                   younoaod                                                                    =
                                                                                                   Unitedstates             Privacy       «Google Nest           toPrivacy «Sales Terms
                                                                                                                                                         Commitment                                        of
                                                                                                                                                                                                           Service
                                                                                                                                                                                                      -—=«Terms              ~—=—Careers


                                                                                                                                                                                                                             BRAZOS-GOOALL-0012552
